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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                 District of
                                             __________      Massachusetts
                                                          District of __________


        Massachusetts Fair Housing Center, et al.              )
                             Plaintiff                         )
                                v.                             )      Case No. 3:20-CV-11765
U.S. Dept. of Housing and Urban Development, et al.            )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Amicus Curiae, National Consumer Law Center                                                                   .


Date:          10/13/2020                                                              /s/Stuart T. Rossman
                                                                                         Attorney’s signature


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